         Case 1:17-cv-11008-MLW Document 43 Filed 09/08/17 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.                                  )
                                                       )
                                                       )
                               Plaintiff,              )
                                                       )   Civil Action No. 1:17-cv-11008-MLW
                       v.                              )
                                                       )
CELLTRION HEALTHCARE CO., LTD.,                        )
CELLTRION, INC., and                                   )
HOSPIRA, INC.,                                         )
                                                       )
                                                       )
                               Defendants.
                                                       )

                  ASSENTED TO MOTION FOR LEAVE TO FILE
             JANSSEN’S SURREPLY IN OPPOSITION TO DEFENDANTS’
            MOTION TO DISMISS FOR LACK OF STANDING UNDER SEAL

       Pursuant to L.R. 7.2, Plaintiff Janssen Biotech, Inc. (“Janssen”) seeks leave to file under

seal its sur-reply in opposition to Defendants’ motion to dismiss for lack of standing. In support of

this motion, Janssen states as follows:

       1.      Janssen intends to file its sur-reply in opposition to Defendants’ motion to dismiss

for lack of standing today.

       2.      Janssen’s sur-reply contains references to confidential information that has already

been sealed by the court pursuant to the Court’s Order (Dkt. 31), including references to the

confidential deposition testimony of Anne Martinson (Dkt. 26-1) and Exhibit I to the Declaration

of Kenneth J. Dow, Esq. (Dkt. 27-9).

       3.      Janssen seeks leave to file its sur-reply with the Court under seal.

       4.      To minimize the impact of sealing beyond what is necessary, a redacted version of

Janssen’s sur-reply will be filed publicly on the docket via the Court’s electronic filing system.

       5.      The granting of this motion will not prejudice any party.
        Case 1:17-cv-11008-MLW Document 43 Filed 09/08/17 Page 2 of 3



      6.     Defendants assent to the relief sought by this motion.

                                                   /s/ Alison C. Casey
Dated: September 8, 2017
                                                   Heather B. Repicky (BBO # 663347)
                                                   hrepicky@nutter.com
                                                   Alison C. Casey (BBO # 688253)
                                                   acasey@nutter.com
                                                   NUTTER MCCLENNEN & FISH LLP
                                                   Seaport West
                                                   155 Seaport Boulevard
                                                   Boston, MA 02210
                                                   617-439-2000
                                                   Fax: 617-310-9192

                                                   Of Counsel:
                                                   Gregory L. Diskant (admitted pro hac vice)
                                                   gldiskant@pbwt.com
                                                   Aron Fischer (admitted pro hac vice)
                                                   afischer@pbwt.com
                                                   Daniel Friedman (admitted pro hac vice)
                                                   dfriedman@pbwt.com
                                                   PATTERSON BELKNAP WEBB &
                                                   TYLER LLP
                                                   1133 Avenue of the Americas
                                                   New York, NY 10036-6710
                                                   212-336-2000
                                                   Fax: 212-336-2222

                                                   Attorneys for Plaintiff Janssen Biotech, Inc.




                                              2
          Case 1:17-cv-11008-MLW Document 43 Filed 09/08/17 Page 3 of 3



                            LOCAL RULE 7.1 CERTIFICATION

         Pursuant to Local Rule 7.1(A)(2), I certify that plaintiff’s counsel conferred with
defendants’ counsel on the subject of this motion, and was advised that defendants consent to the
relief requested in this motion.
                                                     /s/ Alison C. Casey

                                CERTIFICATE OF SERVICE

        I certify that on September 8, 2017 this document, filed through the ECF system, will be
sent electronically to the parties or their counsel who are registered participants as identified on
the Notice of Electronic Filing.
                                                      /s/ Alison C. Casey


3671545




                                                 3
